                                         Case 1:21-mj-00620-RMM Document 5 Filed 10/18/21 Page 1 of 1

AO 442 (Rev J 1111)               Arrest Warrant




                                                                     UNITED STATES DISTRICT COURT
                                                                                                 for the

                                                                                         District of Columbia

                           United States of America
                                                             v.                                    )
                                                                                                         Case: 1:21-mj-00620
                                                                                                   )
                                             Darrell Neely                                               Assigned to: Judge Meriweather, Robin M.
                                                                                                   )
                                                                                                   )
                                                                                                         Assign Date: 9/30/2021
                                                                                                   )     Description: COMPLAINT WI ARREST WARRANT
                                                                                                   )
                                                      Defendant


                                                                                     ARREST WARRANT
To:         Any authorized law enforcement officer

            YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                      Darrell Neely                                                                                  _
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment                               0 Superseding Indictment                   0 Information      0 Superseding Information              N Complaint
o     Probation Violation Petition                                         0 Supervised Release Violation Petition       0 Violation Notice         0 Order of the Court

This offense is briefly described as follows:

 18 U.S.C. § 641 - Theft of Government Property;
 18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds;
 18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 40 U .S.C. § 51 04( e)(2)(0) - Disorderly Conduct in a Capitol Building;
 40 U.S.c. § Sl04(e)(2)(G)                                        - Parading, Demonstrating,    or Picketing in a Capitol Building.


Date: __          0"-,9,-,-,/3,,-,0,-,-,/2=0,-,,,2,-,-1 __
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                                                                                                                                          11 :57:12 -04'00'
                                                                                                                         Issuing officer's signature

City and state:                                               Washin ton D.C.
                                                                                                                           Printed name and title


                                                                                                Return

            This warrant was received on                                   (date)   Cf/3D ,(d-U d , ,and   the person was arr
at   (ci~vandstate)                   WC<,6h"to"                       <   J)C
                                                                       I
Date:~
